Page 1 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Document 28-6
Case 1:12-cv-00007-SS
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Page 3 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Document 28-6
Case 1:12-cv-00007-SS
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Page 5 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Page 6 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Page 7 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Page 8 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Page 9 of 34
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Document 28-6
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Page 10 of 34
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Document 28-6
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Document 28-6
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Page 12 of 34
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Document 28-6
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Page 13 of 34
Filed 07/31/12
Document 28-6
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Page 14 of 34
Filed 07/31/12
Document 28-6
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Page 15 of 34
Filed 07/31/12
Document 28-6
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Page 16 of 34
Filed 07/31/12
Document 28-6
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Page 17 of 34
Filed 07/31/12
Document 28-6
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Page 18 of 34
Filed 07/31/12
Document 28-6
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Page 19 of 34
Filed 07/31/12
Document 28-6
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Page 20 of 34
Filed 07/31/12
Document 28-6
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Page 21 of 34
Filed 07/31/12
Document 28-6
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Page 22 of 34
Filed 07/31/12
Document 28-6
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Page 23 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Page 24 of 34
Filed 07/31/12
Document 28-6
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Page 25 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Page 26 of 34
Filed 07/31/12
Document 28-6
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Page 27 of 34
Filed 07/31/12
Document 28-6
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Page 28 of 34
Filed 07/31/12
Document 28-6
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Page 29 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Page 30 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Page 31 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Page 32 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Page 33 of 34
Filed 07/31/12
Document 28-6
Case 1:12-cv-00007-SS
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Page 34 of 34
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